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                     IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA
                                              SENTENCING
UNITED STATES OF AMERICA,                        )            COURT MINUTES - CRIMINAL
                                                 )
                       Plaintiff,                )     Case No:            21-cr-174 (1) (NEB/DTS)
                                                 )     Date:               November 7, 2022
                v.                               )     Courthouse:         Minneapolis
                                                 )     Courtroom:          13W
WILLIAM HOWARD PROTO, JR.,                       )     Court Reporter:     Brittany Blesener
                                                 )     Time Commenced:     2:00 p.m.
                       Defendant.                )     Time Concluded:     2:35 p.m.
                                                 )     Time in Court:      35 minutes
                                                 )
                                                 )

Before Nancy E. Brasel, United States District Judge
APPEARANCES:

   For Plaintiff:     Joseph Teirab and Andrew Dunne, Assistant U.S. Attorneys
   For Defendant:     Daniel Repka, Retained Attorney

 Sentencing.

IT IS ORDERED:
Defendant is sentenced to:

Count      Guilty       Guilty
 Nos.      Verdict       Plea                        BOP                                       SR
                                    220 months on Count 1s to be served        5 years to be served concurrently
   1          X
                                    concurrently to counts 2s-4s and           to Counts 2s-5s
                                    consecutively to Count 5s
   2          X                     120 months on Count 2 to be served         3 years to be served concurrently
                                    concurrently to counts 1s and 3s-4 sand    to Counts 1s, 3s, 4s and 5s
                                    consecutively to Count 5
   3          X                     220 months on Count 3 to be served         5 years to be served concurrently
                                    concurrently to counts 1s-2s, and 4s and   to Counts 1s-2s and 4s-5s
                                    consecutively to Count 5s
   4                      X         120 months on Count 4 to be served         3 years to be served concurrently
                                    concurrently to counts 1s-3s and           to Counts 1s-3s and 5s
                                    consecutively to Count 5s
   5          X                     60 months on Count 5 to be served          5 years to be served concurrently
                                    consecutively to counts 1s-4s              to Counts 1s-4s

    Special conditions of: See J&C for special condition.
    Special assessment in the amount of $500.00 due immediately.
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    The restricted filings ECF Nos. 110 shall remain restricted for 1 years, until 11/7/23.
    Defendant is remanded to the custody of the USM.

Date: November 7, 2022                                             s/Kristine Wegner
                                                                  Courtroom Deputy to Judge Nancy E. Brasel
